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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                   :      MDL 2179
       “DEEPWATER HORIZON” IN THE                 :
       GULF OF MEXICO, ON APRIL 20, 2010          :      Section J
                                                  :
This Document Applies to:                         :      Judge Barbier
                                                  :
No. 12-970, Bon Secour Fisheries, Inc., et        :      Mag. Judge Shushan
al. v. BP Exploration & Production Inc., et al.   :

            MEMORANDUM IN SUPPORT OF MOTION OF THE SPECIAL MASTER
           FOR RETURN OF PAYMENTS MADE TO CASEY C. THONN AND OTHERS

       Special Master Louis J. Freeh seeks to have Casey C. Thonn return $357,002.35 in

payments made by the Deepwater Horizon Economic Claims Center (“DHECC”) under the

Seafood Compensation Program. In filing claims with the DHECC, Mr. Thonn presented

false information and documents, including tax “returns” that in fact had never been filed

with the Internal Revenue Service. The DHECC paid Mr. Thonn $357,002.35 based upon

these false documents and Mr. Thonn’s misrepresentation of his 2009 shrimping income.

In fact, a 2009 tax return actually filed by Mr. Thonn -- but concealed by Mr. Thonn from

the DHECC -- showed that Mr. Thonn was “unemployed” with no income that year.

       The Court should enter a judgment requiring Mr. Thonn to return all money paid by

DHECC and requiring all professionals who assisted Mr. Thonn and benefitted from this

unjustified payment from DHECC to similarly return such payments.

                                         A. Background

       By Order dated September 6, 2013, the Court directed the Special Master to examine

and investigate any past or pending claims submitted to the Court Supervised Settlement

Program (“CSSP”) which are deemed to be suspicious and initiate clawback proceedings for

fraudulent claims. The Court retains continuing and exclusive jurisdiction over the parties
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and their counsel for enforcing the Deepwater Horizon Economic and Property Damages

Settlement Agreement as amended on May 2, 2012 (the “Settlement Agreement”). See

Settlement Agreement at ¶ 18.1. Any disputes arising out of or related to the

interpretation, enforcement or implementation of the Settlement Agreement shall be made

by motion to the Court. Id.

       The Seafood Compensation Program under the Settlement Agreement covers and

compensates commercial fishermen, seafood boat captains, other seafood crew, and

seafood vessel owners for economic loss claims relating to damages suffered by such

claimants that owned, operated, leased or worked on a vessel that: (a) was home ported in

the Gulf Coast Areas at any time from April 20, 2010 to April 16, 2012, or (b) landed

seafood in the Gulf Coast Areas at any time from April 20, 2009 to April 16, 2012.

Claimants can file a single Seafood Compensation Program Sworn Claim Form with the

DHECC, seeking compensation for multiple compensable claims.

                      B. Mr. Thonn’s Seafood Compensation Claims

       On June 24, 2012, Mr. Thonn filed claims, through legal counsel, with the DHECC for

compensation under the Seafood Compensation Program as a vessel owner (Claim 19690)

and vessel captain (Claim 19691), among others. See Exhibit A. The DHECC claim form

submitted by Mr. Thonn provided:

       I certify and declare under penalty pursuant to 28 U.S.C. Section 1746 that
       the information provided in this Claim Form is true and accurate to the best
       of my knowledge, and that supporting documents attached to or submitted in
       connection with this form and the information contained therein are true,
       accurate, and complete to the best of my knowledge, and I understand that
       false statements or claims made in connection with this Claim Form may
       result in fines, imprisonment, and/or any other remedy available by law to
       the Federal Government, and that suspicious claims will be forwarded to
       federal, state, and local law enforcement agencies for possible investigation
       and prosecution.
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       In support of his claim, Mr. Thonn submitted to the DHECC several

documents, including a “Forensic Analysis and Report” dated June 19, 2012 from the

Coastal Claims Group, LLC, an accounting firm that provides claim support

accounting (hereafter “Report,” attached as Exhibit B). The Report stated that,

“[a]fter review of the financial documentation for Mr. Thonn’s commercial fishing

business, it has been determined that the claimant has suffered an economic loss of

income relating to the BP DWH Oil Spill as outlined in the DWH Court Supervised

Settlement Program Agreement under the Seafood Compensation Program.” Id. at 2.

       The report calculated Mr. Thonn’s claim using “[g]ross vessel revenue based

on [Mr. Thonn’s] tax return, monthly profit and loss statements as provided by Mr.

Thonn is $156,000.” Exhibit B at 6. Attached to the report as supporting documents

were “Federal Tax Returns 2009 and 2010” and “Federal Schedule C 2009 and

2010.” Id. at 9. The supporting documents also included “[a]ffidavits from the local

purchasers of Mr. Thonn’s shrimp.” Id. The 2009 “tax return” was a Form 1040 for

Mr. Thonn, with an attached Schedule C indicating $156,000 in business income for

Mr. Thonn as a fisherman. Id. Also attached was a Form 1040X, Amended U.S.

Individual Income Tax Return, for Mr. Thonn amending the 2009 return in ways that

did not affect his shrimping income but increased his tax liability. Id.

       On or about February 28, 2013, the DHECC paid Mr. Thonn and his counsel

$166,652.10 for Claim 19690 as a vessel owner under the Seafood Compensation Program.

On or about April 29, 2013, the DHECC paid Mr. Thonn and his counsel $190,350.25 for

Claim 19691 as a vessel captain under the Seafood Compensation Program.




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       Upon information and belief, Mr. Thonn’s counsel, the AndryLerner LLC law firm

and its partners Jonathan Andry and Glen Lerner, received attorney’s fees for Mr. Thonn’s

seafood claims. Approximately $35,700.23 of these fees was transferred as a referral fee to

Lionel Sutton, III, a former DHECC staff member.

       Coastal Claims Group, LLC submitted an invoice for $20,182.50 for its accounting

work preparing the Report supporting Mr. Thonn’s seafood claims. See Exhibit B.

                      C. Evidence of Mr. Thonn’s Fraudulent Claim

       On November 6, 2013, after investigating Mr. Thonn’s claims, the Special Master

applied for an order to show cause directed to Mr. Thonn. On November 7, 2013, the Court

issued a show cause order requiring Mr. Thonn to sign a release to authorize the Internal

Revenue Service (“IRS”) to provide the Special Master with Mr. Thonn’s tax records for

2009 and 2010. The order also required Mr. Thonn to produce the documentation that a

claimant is to provide to support a claim under the Settlement Agreement’s Seafood

Compensation Program. See Settlement Agreement at Exhibit 10 IV.B.1(b) & (d) and

IV.B.2(b) & (d).

       Mr. Thonn produced no records responsive to the show cause order, but he did sign

an IRS form agreeing to release his income tax records to the Special Master.

       IRS records released to the Special Master with Mr. Thonn’s consent indicate that

the 2009 tax documents presented to the DHECC by Mr. Thonn were never filed with the

IRS. See Exhibit C (Mr. Thonn’s 2009 IRS Record of Account & Wage and Income

Transcript). Mr. Thonn never paid the 2009 tax liability shown in the documents he

presented to the DHECC. Id.




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       The IRS records released to the Special Master by the IRS show that the only 2009

tax filing presented by Mr. Thonn to the IRS was a Form 1040A that represented that Mr.

Thonn had no income for 2009 and was “unemployed” for that year. See Exhibits C and D

(2009 Form 1040A). Mr. Thonn never presented or mentioned this 2009 tax return to the

DHECC, and Coastal Claims Group Report similarly made no mention of this 2009 filing.

       The IRS records also indicate that the 2010 tax form presented by Mr. Thonn with

his claim indicating that the form was dated September 15, 2011, in fact had not been filed

with the IRS when Mr. Thonn presented the document to the DHECC on June 24, 2012. See

Exhibit E (Mr. Thonn’s 2010 IRS Record of Account & Wage and Income Transcript). This

2010 tax document was filed with the IRS, but not until September 17, 2012, after the IRS

sent Mr. Thonn a warning about failure to file a tax return for 2010. Id.

       The IRS records are consistent with records provided by Mr. Thonn’s tax preparer,

who produced to the Special Master’s investigators income tax forms for 2009 indicating

that Mr. Thonn had no 2009 income. See Exhibit D; Exhibit F at ¶ 4 (affidavit of Special

Master investigator). The tax preparer could provide no information to explain the

contradictory information on Mr. Thonn’s income for 2009, nor did the preparer know

which, if any, of the forms had been filed with the IRS. See Exhibit F at ¶ 4.

       The IRS records also are consistent with a statement that Mr. Thonn’s now-former

spouse made to the Special Master’s investigators. Mr. Thonn’s now-former spouse stated

that the 2009 tax form indicating that Mr. Thonn had no 2009 income was the form she

filed with the IRS. See Exhibit D; Exhibit F at ¶ 5. Mr. Thonn’s former spouse further stated

that Mr. Thonn was unemployed in 2009. See Exhibit F at ¶ 5. She said she was not aware

of the filing of any amended tax returns for 2009. Id.


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       The IRS records also are consistent with a statement by another of Mr. Thonn’s tax

preparers, who recalled preparing the 2009 tax return for Mr. Thonn and his now-former

spouse. See Exhibit F at ¶ 6. This tax preparer recalled Mr. Thonn’s spouse affirming that

Mr. Thonn was unemployed in 2009 and had no income for that year. Id.

       Other evidence shows additional inconsistencies in Mr. Thonn’s claim. For example,

Mr. Thonn presented affidavits from several persons who allegedly purchased shrimp from

Mr. Thonn for cash in 2009. See Exhibit B. When interviewed by Special Master

investigators, however, several of these alleged purchasers gave contradictory statements

and did not produce any records of purchases from Mr. Thonn. See Exhibit F at ¶ 8.

       For example, one person who allegedly bought shrimp from Mr. Thonn before the

Deepwater Horizon spill was his uncle, Charles “Sonny” Nuccio. Nuccio had operated a

restaurant and seafood store in Picayune, Mississippi, and said he purchased shrimp

weekly from Mr. Thonn. See Exhibit F at ¶ 8. Mr. Nuccio advised he is having “trouble with

the IRS” because of failure to pay past business taxes and incorrectly reported business

income. Id. Mr. Nuccio said he was unable to locate any of his business records, even when

presented with a subpoena from the Special Master for production of the records. Id.

       Mr. Nuccio also contradicted himself on the quantity of shrimp he allegedly

purchased from Mr. Thonn. Id. at ¶¶ 9-10. In an interview with the Special Master’s

investigators on November 12, 2013, Mr. Nuccio said the restaurant probably purchased a

box of shrimp a week from Mr. Thonn, and paid between $3.29 per pound to $4.99 per

pound for shrimp depending on the size. Id. at 9. A good box of shrimp was $500. But in

an interview with CAO investigators on August 21, 2013, Mr. Nuccio said he would




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purchase between “one and ten boxes” of shrimp from Mr. Thonn a week, costing between

$2.75 and $4.00 per pound. Id. at ¶ 10.

       The anti-fraud controls previously utilized by DHECC did not detect the false

information in Mr. Thonn’s claim when it was paid or audited, even when the claim was re-

reviewed in July 2013. In coordination with the DHECC, the Special Master and other

professionals have been working to enhance and upgrade the DHECC anti-fraud controls to

design and implement such additional controls, policies, procedures, and practices to

ensure the integrity of the claims process.

       Based on these facts which demonstrate that Mr. Thonn presented false documents

to the DHECC and fraudulent evidence to meet the requirements of the Settlement

Agreement, the Special Master now brings this motion for return of payments.

                                      D. Legal Analysis

       1.     The Court should order Mr. Thonn to return all funds
              he received from the DHECC because Mr. Thonn’s claim was fraudulent.

       It is well settled that the Court has the power to enter restitution where, as is the

case here, fraud is present. See Hazel-Atlas Glass Co. v. Hartford Empire Co., 322 U.S. 238,

246 (1944) (affirming judicial power to set aside fraudulently begotten judgments as such

cases present “a wrong against the institutions set up to protect and safeguard the public,

institutions in which fraud cannot complacently be tolerated consistently with the good

order of society.”) The rationale for this broad discretionary power is to allow courts to

fashion an appropriate equitable remedy to prevent a wrongdoer from retaining an unjust

windfall. SEC v. Huffman, 996 F.2d 800, 803 (5th Cir. 1993) (disgorgement is an equitable

remedy designed to deprive a wrongdoer of his unjust enrichment); Valeant Pharm. Int’l v.

Jerney, 921 A.2d 732, 753 (Del. Ch. 2007) (restitution is appropriate remedy to prevent an
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unjust windfall; “disgorgement obligation stems from [defendant’s] receipt of the

company's money, not from his participation in the decision to authorize the payment.”).

       Here, the record unquestionably reveals that Mr. Thonn knowingly presented false

information to the Court-supervised DHECC to obtain $357,002.35 from the Deepwater

Horizon Trust. Specifically, in support of his claim submitted to the DHECC, Mr. Thonn

provided 2009 tax returns that were fraudulent. See Exhibits B, C & E. Mr. Thonn also

submitted fraudulent evidence of alleged shrimp sales in the form of false affidavits that

could not be verified or confirmed. See Exhibit B; Exhibit F at ¶¶ 8-10.

       In light of the undisputed evidence of fraud and in accordance with Section 18.1 of

the Settlement Agreement, the Court should enter an Order compelling Mr. Thonn to return

all funds paid to him by the DHECC. An Order requiring Mr. Thonn to make restitution will

make the trust fund whole for its loss, deprive Mr. Thonn of an unjust enrichment and deter

others from engaging in similar misconduct. See SEC v. First City Fin. Corp., Ltd., 890 F.2d

1215, 1230 (D.C. Cir. 1989); Fletcher v. Sec. Pac. Nat'l Bank, 23 Cal. 3d 442, 449 (1979) (in

case of unfair trade practices, equitable principles arm trial courts with cleansing power to

order restitution to effect complete justice, deter future violations and foreclose retention

of ill-gotten gains).

       2.      The Court should order the return all funds received
               by professionals who assisted Mr. Thonn submit his false claims.

       The professionals who helped Mr. Thonn submit his false claims, and who failed to

detect the fact that Mr. Thonn was submitting false documents to the DHECC, also should

be required to return any payment received based on Mr. Thonn’s claims. See SEC v. Blatt,

583 F.2d 1325, 1335-36 (5th Cir. 1978) (broad power empowers courts to order

disgorgement of legal and other professional fees “realized by each defendant for his
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assistance in executing the fraud” up to the amount of the fee realized). Whether these

professionals knew of the falsity of Mr. Thonn’s claim is immaterial to their duty to make

restitution of sums that have been received as a result of this improper claim. See Schock v.

Nash, 732 A.2d 217, 232-33 (Del. 1999) (“Restitution is permitted even when the defendant

retaining the benefit is not a wrongdoer. Restitution serves to deprive the defendant of

benefits that in equity and good conscience he ought not to keep, even though he may have

received those benefits honestly in the first instance, and even though the plaintiff may

have suffered no demonstrable losses.”).

                                       E. Conclusion

       For the reasons stated in this memorandum, the Court should enter a judgment

requiring Mr. Thonn to make restitution to the DHECC for $357,002.35, paid by the DHECC

in reliance on Mr. Thonn’s false representations. All professionals who assisted Mr. Thonn

and benefitted from this unjustified payment from DHECC similarly should be required to

return these payments.

                                           Respectfully submitted,


                                           _____/s/_Louis J. Freeh_____________________
                                           Louis J. Freeh
                                           Special Master


Dated: January 8, 2014




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